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                         IN THE UNITED STATES DISTRICT COURT /
                             NORTHERN DISTRICT OF TEXAS
                                                        I
                                 FORT WORTH DIVISION i

UNITED STATES OF AMERICA                       §
                                               §            L ..
                                                                  I    1~~~~~ us;~:·.'·· ·
v.                                             § CRIMINAL NO: 4;16-CR-242-A
                                               §
BALDEMAR SOLIS                                 §

          UNOPPOSED MOTION TO WITHDRAW AS COUNSEL OF RECORD

TO THE HONORABLE JUDGE JOHN MCBRYDE:


COMES NOW DEFENDANT'S attorney of record MARK ALAN HOAK (hereinafter

''Counsel"). and files this Motion to Withdraw as Counsel of Record in the above styled and

numbered cause and in support thereof would show the Court the following;

                                          I.     FACTS

1.1. Attorney was retained to represent Defendant. Defendant is in custody pending trial, that

has been set for January 23, 2017.


1.2. Defendant has pleaded not guilty to the charges at the arraignment hearing.


1.3. There is a conflict of personality that precludes counsel from further representing Defendant

in this cause.


1.4. Counsel has taken reasonable steps to resolve this conflict before filing this motion.


1.5. This motion to withdraw and appointment of new Counsel can be accomplished without

materially affecting the rights of the Defendant.


1.6. This motion has not been filed for the purposes of delay.



Motion to Withdraw                                                                     Page 1 of3
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I. 7. Defendant and Defendant's family have breached their agreement with counsel.


!.8. Defendant has agreed with the withdraw as shown by his signature to this Motion.


                          II.     ARGUMENT AND AUTHORITES

Il.l. Texas State Bar Rule I.06 prohibits an attorney from representing a client once a

conflict has arisen. Loyalty is an essential element in the lawyer's relationship to a client. If

such a conflict arises after representation has been undertaken, the lawyer must take effective

action to eliminate the conflict, including withdrawal if necessary to rectify the situation.

Texas Bar Rule 1.06; cmt 1.



II.2. The undersigned Counsel requests penn iss ion to withdraw and have new Counsel appointed for

Defendant.



1!.3. New Counsel will be able to independently review the issues, advice Defendant and further

may be able to advise Defendant regarding the potential consequences of a guilty verdict by a

jury versus the possible impact of accepting the plea agreement which was offered to Defendant

in this case.

                                            PRAYER

Therefore, Counsel prays that this Court allow the undersigned to withdraw as Counsel of record

for Defendant and that new Counsel be appointed to represent Defendant.




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Respectfully submitted,

     Is/Mark Alan Hoak
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Fax:214-723-5964


Agreed to Substitution:




BALDEMAR SOLIS , Defendant                           Date



                                    CERTIFICATE OF CONFERENCE
                                    "           'k-
 I hereby certifY that on \ Q <U:_:vvJJ9Y  y:., - -  , 2016, I had conferenced with the
 govemment's_ counsel regarding the above Motion for Substitution and Government is Gj'lj'leseei
cgNOPPOSEJ:) Jo this motion.

     Is/Mark Alan Hoak     A   1\   A
Mark A. Hoak      f(Vl7r'L
                                     CERTIFICATE OF SERVICE



I hereby certify that on  D.o 0>__Q_}--~              9~~ ,     2016, I filed the foregoing
document with the clerk of the Court of the United State District Court, Northern District of
Texas, and has been delivered to all parties of record.



     Is/Mark A/an Hoak~/J

Mark A. Hoak    /(11.' f • L
Motion to Withdraw                                                                     Page3 of3
